
McCarthy, J.
The evidence clearly shows that there was a contract entered into between these parties. The defendant is bound by his obligations, and can only avoid it by discharging the plaintiff for good cause shown, or by declaring the contract invalid by reason of false and fraudulent representations made at the time of the making of such contract, and which was the inducement in the making of the same. Fraud vitiates all contracts, no matter how solemn. The false representations must be made with intent to deceive and known to the person making them. Mere expressions of opinions are not enough. The plaintiff when he answered the questions of one of the defendants had no information to the contrary, and believed them to be true. No complaint had been made up to that time, and it seems the objections afterward made by Mr. Wasson were suggested by the fact of plaintiff being about to enter the employ of a rival. There was no evidence presented showing a false and fraudulent representation known to the plaintiff or made with the intent to deceive ; and this being the only cause claimed by the defendant for not carrying out his contract, the trial justice was correct in directing a verdict for the plaintiff, the amount of damages being assented to.
We find no errors.
Judgment should, therefore, be affirmed, with costs.
Van Wyck and Newburger, JJ., concur.
